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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK

In re: John W. Tedford, Jr                                              Case No. 18-11554
                                                                        Chapter 13

                                          Debtor(s).



                                     LOSS MITIGATION STATUS REPORT

      This Loss Mitigation Status Report is submitted pursuant to the court’s Loss Mitigation
Program Procedures.

PART I — GENERAL INFORMATION

a. Full description of the Property:
889 Muitzeskill Road,Schodack Landing, NY 12156




b. Name and address of Creditor:                          Name, address, and telephone number of Creditor’s
Rushmore Loan Management Services attorney:
P.O. Box 55004                    Courtney R. Williams, Esq.
Irvine, CA 92619-2708             Gross Polowy, LLC
                                  1775 Wehrle Drive, Suite 100
                                  Williamsville, NY 14221
                                  (716) 204-1700

Has Creditor filed a proof of claim?
  ✔    Yes            No




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 PART II — LOSS MITIGATION PROGRAM

 a. On 10/25/2021           , a Loss Mitigation Request was filed by:

      ✔    Debtor(s).                                       Other party: ______________________________.

          Creditor.                                         The court raised the possibility of Loss Mitigation.
 b. Loss Mitigation Order:
     ✔     A Loss Mitigation Order was entered on 11/09/2021 .

     ✔     The Loss Mitigation Order was served on 11/09/2021 .

 c. At this time, the Debtor(s) is/are:
      ✔    making on-going post-petition monthly mortgage payments in the amount of $____________
                                                                                     2,002.00

          ✔    directly to the Creditor.

               to the standing trustee.

               not making on-going post-petition monthly mortgage payments.

 d. If the underlying bankruptcy case is one filed under chapter 12 or 13, has a plan been confirmed?
           ✔     Yes           No
 e. Creditor served a Request for Information and Documents on 11/12/2021 .
     Debtor(s) served a Response to the Creditor’s Request on 12/08/2021 .
           All Information and Documents have been produced.

      ✔    The following Information and Documents are still outstanding:
           __________________________________________________________________________
           Updated profit and loss statement for the past three months
           __________________________________________________________________________.
 f. Debtor(s) served a Request for Information and Documents on                        .
     Creditor served a Response to the Debtor(s)’ Request on                      .


           All Information and Documents have been produced.

           The following Information and Documents are still outstanding:
           _____________________________________________________________________________
           ________________________________________________________________________.




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g. The Loss Mitigation Parties have participated in ______ Loss Mitigation Session(s) and:
         A resolution has been reached.

   ✔     A resolution has not been reached because:
        __________________________________________________________________________
        Awaiting updated P&L Statement
         __________________________________________________________________________.

h. Prior Loss Mitigation Status Report (if applicable):
    A Prior Loss Mitigation Status Report was submitted on 01/03/2022 .

    A Prior Loss Mitigation Status Report was submitted on 02/04/2022 .

    A Prior Loss Mitigation Status Report was submitted on 4/8/20           .

i. Additional information relevant to the Loss Mitigation Parties reaching a final resolution:


       ___________________________________________________________________________


       ___________________________________________________________________________


       ___________________________________________________________________________


       ___________________________________________________________________________.


PART III — OTHER MORTGAGES/LIENS AGAINST THE PROPERTY

 _________________________________________________________________________________
 _________________________________________________________________________________
 _________________________________________________________________________________


Dated: 05/20/2022                                        __________________________________________
                                                         /s/ Michael J. O'Connor
                                                         Name Michael J. O'Connor
                                                         Firm O'Connor First, P.C
                                                         Attorney(s) for Debtor(s)/Creditor
                                                         Address 20 Corporate Woods Blvd. Albany NY 12211
                                                         Telephone Number (518) 465-0400
                                                         Email Address moconnor@oobf.com
                                                         N.D.N.Y. Bar Roll Identification No. 601055



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